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                EXHIBIT A
         Case
         Case:1:17-cr-00201-ABJ
               1:16-cr-00436-KMWDocument
                                  As of: 12/04/2017
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                                                                                     ECF
                               U.S. District Court
                  Southern District of New York (Foley Square)
             CRIMINAL DOCKET FOR CASE #: 1:16−cr−00436−KMW−2

Case title: USA v. Williams                            Date Filed: 06/22/2016

Assigned to: Judge Kimba M.
Wood

Defendant (2)
Steven Brown                      represented by Walter Staunton Mack , Jr
                                                 Doar, Rieck, Kaley & Mack
                                                 217 Broadway
                                                 Suite 707
                                                 New York, NY 10007−2911
                                                 212−619−3730
                                                 Fax: 212−962−5037
                                                 Email: wmack@doarlaw.com
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Retained

Pending Counts                                 Disposition
18:1349.F ATTEMPT AND
CONSPIRACY TO COMMIT
WIRE FRAUD
(1)
18:1343.F FRAUD BY WIRE,
RADIO, OR TELEVISION
(2)
18:1956−4999.F MONEY
LAUNDERING − FRAUD,
OTHER (CONSPIRACY)
(3)

Highest Offense Level (Opening)
Felony

Terminated Counts                              Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                     Disposition
None


Plaintiff
USA                                      represented by Patrick Egan
                                                        US Attorney's Office, SDNY
                                                        1 St. Andrew's Plaza
                                                        New York, NY 10007
      Case
      Case:1:17-cr-00201-ABJ
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                                                                    104
                                                             (212)−637−2345
                                                             Email: patrick.egan@usdoj.gov
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Assistant US Attorney

                                                             Katherine Cannella Reilly
                                                             U.S. Attorney's Office (SDNY)
                                                             1 St. Andrew's Plaza
                                                             New York, NY 10007
                                                             212−637−6521
                                                             Fax: 212−637−2527
                                                             Email: katherine.reilly2@usdoj.gov
                                                             ATTORNEY TO BE NOTICED

                                                             Noah David Solowiejczyk
                                                             United States Attorney's Office, SDNY
                                                             One Saint Andrew's Plaza
                                                             New York, NY 10007
                                                             (212) 637−2473
                                                             Fax: (212) 637−2527
                                                             Email: noah.solowiejczyk@usdoj.gov
                                                             ATTORNEY TO BE NOTICED

Date Filed   #   Docket Text
06/22/2016   1 SEALED (3) INDICTMENT as to Sealed Defendant 1 (1) count(s) 1, 2, 3, Sealed
               Defendant 2 (2) count(s) 1, 2, 3, Sealed Defendant 3 (3) count(s) 1, 2. (jm) (Entered:
               06/28/2016)
06/28/2016   2 Order to Unseal S(3)Indictment as to Sealed Defendant 1, Sealed Defendant 2, Sealed
               Defendant 3. (Signed by Magistrate Judge James L. Cott on 6/28/16)(jm) (Entered:
               06/28/2016)
06/28/2016       INDICTMENT UNSEALED as to James David Williams, Steven Brown, Gerald
                 Seppala. (jm) (Entered: 06/28/2016)
06/28/2016       Case Designated ECF as to James David Williams, Steven Brown, Gerald Seppala.
                 (jm) (Entered: 06/28/2016)
06/28/2016       Case as to James David Williams, Steven Brown, Gerald Seppala ASSIGNED to
                 Judge Judge Kimba M. Wood. Judge Judge Unassigned no longer assigned to the case.
                 (jm) (Entered: 06/28/2016)
06/28/2016       Arrest of (S3−16−Cr−436−02) Steven Brown. [*** NOTE: Refer to Disposition Sheet
                 for Rule 9 Proceeding held on 6/28/2016. ***] (bw) (Entered: 06/30/2016)
06/28/2016   6 NOTICE OF ATTORNEY APPEARANCE: Walter Staunton Mack, Jr. appearing for
               (S3−16−Cr−436−02) Steven Brown. (bw) (Entered: 06/30/2016)
06/28/2016   7 Minute Entry on "Disposition Sheet" for proceedings held before Magistrate Judge
               James L. Cott: Initial Appearance as to (S3−16−Cr−436−02) Steven Brown held on
               6/28/2016. Date of Arrest: 6/28/16 1:57 PM. Time of Presentment: 6/28/16 6:30 PM.
               AUSA Patrick Egan. Defense Counsel Walter Mack (Retained). Proceeding: Rule 9.
               Agreed conditions of release; $200,000 PRB; 2 FRP; travel restricted to
               SDNY/EDNY/CD California (and points in between for purpose of travel); surrender
               travel documents (& no new applications). Other Conditions: Pre Trial Supervision as
               directed; maintain residence at Santa Monica, LA address. Defendant to be released on
               own signature; remaining conditions to be met by 7/12/2016. COMMENTS: Any
               application for travel inside and outside the United States must be made to the Court
               for approval. ADDITIONAL PROCEEDINGS: Defendant arraigned; pleads Not
               Guilty. Conference before District Judge on 7/21/2016 at 1 PM. Speedy Trial Time
               excluded under 18 U.S.C. Section 3161(h)(7) until 7/21/2016 for production of
               discovery. (bw) (Entered: 06/30/2016)
     Case
     Case:1:17-cr-00201-ABJ
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                   Request due 11/29/2017. Redacted Transcript Deadline set for 12/11/2017. Release of
                   Transcript Restriction set for 2/6/2018. (McGuirk, Kelly) (Entered: 11/08/2017)
11/08/2017   109 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Steven Brown, Gerald
                 Seppala. Notice is hereby given that an official transcript of a Conference proceeding
                 held on 10/31/17 has been filed by the court reporter/transcriber in the
                 above−captioned matter. The parties have seven (7) calendar days to file with the court
                 a Notice of Intent to Request Redaction of this transcript. If no such Notice is filed, the
                 transcript may be made remotely electronically available to the public without
                 redaction after 90 calendar days.... (McGuirk, Kelly) (Entered: 11/08/2017)
11/13/2017   110 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                 MOTION for Extension of Time to File Pre−Trial Motion. Document filed by Steven
                 Brown as to James David Williams, Steven Brown, Gerald Seppala. (Mack, Walter)
                 Modified on 11/14/2017 (ka). (Entered: 11/13/2017)
11/14/2017         NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − EVENT TYPE
                   ERROR as to James David Williams, Steven Brown, Gerald Seppala: Notice to
                   Attorney Walter Staunton Mack, Jr to RE−FILE Document 110 MOTION for
                   Extension of Time to File Pre−Trial Motion. Use the event type Letter Motion
                   found under the event list Motions. (ka) (Entered: 11/14/2017)
11/14/2017   111 LETTER MOTION addressed to Judge Kimba M. Wood from Walter Mack dated
                 November 13, 2014 re: extension of time to file motions. Document filed by Steven
                 Brown as to James David Williams, Steven Brown, Gerald Seppala. (Mack, Walter)
                 (Entered: 11/14/2017)
11/15/2017   112 MEMO ENDORSEMENT on 110 MOTION for Extension of Time to File Pre−Trial
                 Motion. ENDORSEMENT: Granted. The Government's response is due January 19,
                 2018. Any Reply is due January 26, 2018. (Signed by Judge Kimba M. Wood on
                 11/15/2017) (lnl) (Entered: 11/15/2017)
11/15/2017         Set/Reset Deadlines/Hearings as to Steven Brown: Responses due by 1/19/2018.
                   Replies due by 1/26/2018. (lnl) (Entered: 11/15/2017)
11/20/2017   113 LETTER MOTION addressed to Judge Kimba M. Wood from AUSA Katherine Reilly
                 dated November 20, 2017 re: Potential Conflict of Interest and Curcio Inquiry .
                 Document filed by USA as to Steven Brown. (Reilly, Katherine) (Entered:
                 11/20/2017)
11/22/2017   115 MEMO ENDORSEMENT as to Steven Brown on re: 113 LETTER MOTION
                 addressed to Judge Kimba M. Wood from AUSA Katherine Reilly dated November
                 20, 2017 re: Potential Conflict of Interest and Curcio Inquiry filed by USA.
                 ENDORSEMENT: Ms. Reilly and Mr. Solowiejczyk shall confer with Counsel for
                 Mr. Brown regarding a sate and time for this hearing as soon as possible, and shall call
                 my deputy, Ms. Tomasello to set a date, either in the afternoon of Nov. 22, or morning
                 the first week in December. (Signed by Judge Kimba M. Wood on 11/21/2017)(ft)
                 (Entered: 11/22/2017)
11/30/2017   116 AFFIRMATION in Opposition as to Steven Brown re 113 LETTER MOTION
                 addressed to Judge Kimba M. Wood from AUSA Katherine Reilly dated November
                 20, 2017 re: Potential Conflict of Interest and Curcio Inquiry .. (Mack, Walter)
                 (Entered: 11/30/2017)
11/30/2017   117 MEMORANDUM in Opposition by Steven Brown re 113 LETTER MOTION
                 addressed to Judge Kimba M. Wood from AUSA Katherine Reilly dated November
                 20, 2017 re: Potential Conflict of Interest and Curcio Inquiry .. (Mack, Walter)
                 (Entered: 11/30/2017)
12/04/2017         Minute Entry for proceedings held before Judge Kimba M. Wood: Curcio Hearing as
                   to Steven Brown held on 12/4/2017. Defendant Steven Brown is present with his
                   attorneys Walter Mack and David Rivera. AUSAs Katherine Reilly and Noah
                   Solowiejczyk are present. Court reporter Rose Prater is present. Curcio hearing is held
                   (see transcript.) The Court finds that Defendant Brown knowingly and voluntarily
                   waives his right to conflict−free representation. (jbo) (Entered: 12/04/2017)
